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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )            CR 315-006
                                               )
OSCAR SIERRA-RUBIO                             )
                                           _________

                                           ORDER
                                           _________

       Before the Court are the various pre-trial discovery motions filed by Defendant.

Many (if not all) discovery issues should be addressed in full by the Court’s rulings below

and the liberal discovery policy that the government has confirmed it is applying in this case.

To the extent, if any, either party believes there are specific inadequacies in the discovery

exchanged to date that are not addressed below, the Court directs such party to confer in

good faith with the opposing party and file, if necessary, a discovery motion and supporting

brief within seven days from the date of this Order.

                            GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with written reports from the Office of Inspector

General, Department of Justice, and Laurens County Sheriff’s Office, excepting attorney and

agent work product and personal data redacted. (Doc. no. 47, p. 1.) All known statements by

Defendant, as well as his criminal record, and the grand jury transcript in the case have also been
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provided. (Id. at 1, 2.) Accordingly, the Court finds that the position of the United States

Attorney in permitting liberal disclosure of the government’s file pertaining to this case

renders the general discovery requests MOOT. (Doc. no. 44.)

                 MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

       The Court GRANTS this motion. (Doc. no. 41.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

        MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

       The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant

with statements of witnesses immediately following their testimony in court. There is no

authority for the Court to grant an early release or disclosure of that material. United States

v. Schier, 438 F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,

1251 & n.78 (11th Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir.

1980). Yet because the government does not oppose the motion and early disclosure of

Jencks Act material will avoid unnecessary delay and inconvenience to the Court and jury,

the government is INSTRUCTED to provide Jencks Act material fourteen days prior to trial.

(Doc. no. 42.)

       SO ORDERED this 8th day of September, 2015, at Augusta, Georgia.




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